744 F.2d 1448
    84-2 USTC  P 9835
    Galdwin C. LAMB, Petitioner-Appellant,v.COMMISSIONER OF INTERNAL REVENUE, Respondent-Appellee.Tom MOULTON, Petitioner-Appellant,v.COMMISSIONER OF INTERNAL REVENUE, Respondent-Appellee.Buddy L. SNEAD and Ligaya Snead, Petitioners-Appellants,v.COMMISSIONER OF INTERNAL REVENUE, Respondent-Appellee.
    Nos. 83-1899, 83-2263 and 83-2326.
    United States Court of Appeals,Tenth Circuit.
    Oct. 5, 1984.
    
      Before SETH, Chief Judge, and McKAY and LOGAN, Circuit Judges.
      OPINION ON MOTION TO RECONSIDER OR MODIFY MANDATE
      PER CURIAM.
    
    
      1
      On motion to reconsider or modify the remand orders in these cases we have been asked to reconsider our mandate directing the United States Tax Court to assess attorney's fees and double costs for the bringing of a frivolous appeal.  The government suggests that there is some doubt that the Tax Court has jurisdiction to award attorney's fees and costs in these cases.  Without deciding the issue of whether the Tax Court has authority to make findings and enter judgment on our determination that attorney's fees and double costs should be awarded for bringing a frivolous appeal to this court from the Tax Court, we have determined to withdraw the mandates and to modify them to direct the Clerk of this court to assess attorney's fees in the amount of $500 against each appellant and double costs against each appellant in Lamb v. Commissioner, 733 F.2d 86 (10th Cir.1984) and Moulton v. Commissioner, 33 F.2d 734 (10th Cir.1984).  In Snead v. Commissioner, 733 F.2d 719 (10th Cir.1984), the Clerk of the court is further directed to assess attorney's fees in the amount of $250 and one-half double costs against each appellant severally.  As thus modified, the judgments and mandates is these cases are affirmed.
    
    